     Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 1 of 30



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

VU TRAN,                                     §
Individually and on behalf of all others     §
Similarly situated,                          §
                       Plaintiffs,           §   No. 4:17-cv-03588
       -against-                             §
                                             §
KEANE FRAC TX, LLC; KEANE FRAC               §
ND, LLC; KEANE FRAC GP, LLC;                 §
KEANE FRAC, LP, KEANE GROUP, LLC;            §
and KEANE GROUP HOLDINGS, LLC,               §
                                             §
                        Defendants.          §


DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR CONDITIONAL CLASS
              CERTIFICATION & EXPEDITED DISCOVERY




                                           Respectfully submitted,


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       Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 2 of 30



                                                TABLE OF CONTENTS

I.      INTRODUCTION ...............................................................................................................1

II.     BACKGROUND .................................................................................................................2

        A.        Job Requirements of Sand Haulers. .........................................................................2

        B.        Job Requirements of Fleet Drivers. .........................................................................3

        C.        Keane Lawfully Paid its Sand Haulers and Fleet Drivers........................................4

                  1.         The Motor Carrier Act Exemption ...............................................................4

                  2.         Sand Haulers and Fleet Drivers Are Exempt Pursuant to the Motor
                             Carrier Exemption Act. ................................................................................5

III.    ARGUMENT AND AUTHORITIES ..................................................................................6

        A.        Plaintiff’s Motion Should Be Denied because Plaintiff’s Evidence Fails to
                  Show that Sand Haulers and Fleet Drivers Are Similarly Situated in Terms
                  of Job Requirements. ...............................................................................................9

                  1.         The Declarations regarding the Job Requirements of a Fleet Driver
                             Are Vague and Conclusory. .........................................................................9

                  2.         Headley’s Declaration Does Not Establish that Sand Haulers and
                             Fleet Drivers Are Similarly Situated..........................................................10

                  3.         Keane’s Change in Pay Practices Is Not Evidence of an FLSA
                             Violation. ...................................................................................................11

        B.        Plaintiff’s Motion Should Be Denied Because the Issue of Applicability of
                  the Motor Carrier Exemption Requires Individual Inquiries. ................................12

        C.        The Court Should Not Approve Plaintiff’s Proposed Notice because it is
                  Misleading and Inappropriate. ...............................................................................13

        D.        The Discovery Sought by Plaintiff is Overbroad and Should Be Limited in
                  Scope. .....................................................................................................................14

IV.     CONCLUSION ..................................................................................................................16




                                                                     i
       Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 3 of 30




                                               TABLE OF AUTHORITIES

                                                                                                                           Page(s)
CASES

Acevedo v. Allsup's Convenience Stores, Inc.,
   600 F.3d 516 (5th Cir. 2010) .....................................................................................................8

Aguilar v. Complete Landsculpture, Inc.,
   2004 WL 2293842 (N.D. Tex. Oct. 7, 2004) .............................................................................7

Aguirre v. SBC Commc'ns, Inc.,
   No. H–05–2198, 2007 WL 772756 (S.D. Tex. Mar. 12, 2007) .................................................7

Barnard v. Intertek USA, Inc.,
   C.A. No. 4:11-cv-02198 at * 21.........................................................................................14, 15

Beth Ann Brothers v. Portage National Bank,
   2009 U.S. Dist. LEXIS 109769 (W.D. Penn. Mar. 24, 2009) .....................................................12

Brown v. Barnes & Noble, Inc.,
   252 F. Supp. 3d 255, 263 (S.D.N.Y. 2017)..........................................................................7, 12

Castro, et al., v. Keane Group, LLC, et al.,
   CA No. 7:17-CV-00223-RAJ (W.D. Tex.) ................................................................................1

De la Cruz v. El Paso County Water Imp. Dist. No. 1,
   2005 WL 2291015 (W.D. Tex. Sept. 19, 2005) ...........................................................................8

Diaz v. Applied Mach. Corp.,
   No. CV H-15-1282, 2016 WL 3568087 (S.D. Tex. June 24, 2016) ..............................4, 5, 6, 7

Dreyer v. Baker Hughes Oilfield Operations, Inc.,
   No. H–08–1212, 2008 WL 5204149 (S.D. Tex. Dec. 11, 2008) ...............................................7

England v. New Century Fin. Corp.,
   370 F. Supp. 2d 504 (M.D. La. 2005) ........................................................................................12

Gerlach v. Wells Fargo & Co.,
   No. C 05-0585 CW, 2006 WL 824652 (N.D. Cal. Mar. 28, 2006) .........................................13

Harris v. Fee Transp. Servs.,
   No. Civ.A.3:05CV0077–P, 2006 WL 1994586 (N.D. Tex. May 15, 2006) ..............................7

Heeg v. Adams Harris, Inc.,
   907 F. Supp. 2d 856 (S.D. Tex. 2012) .......................................................................................7




                                                                  ii
       Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 4 of 30



Henry v. Express Scripts Holding Co.,
   No. CIV.A. 14-2979 SRC, 2015 WL 790581 (D. N.J. Feb. 24, 2015) ................................8, 12

Hoffman-La Roche, Inc. v. Sperling,
   493 U.S. 165, 110 S. Ct. 482 (1989) ........................................................................................13

Holt v. Rite Aid Corp.,
   333 F.Supp.2d 1265 (M.D. Ala. 2004).......................................................................................12

Jaso v. Bulldog Connection Specialists LLC,
   No. 2:15-CV-269, 2015 WL 11144603 (S.D. Tex. Oct. 15, 2015) ...........................................7

Jones v. Cretic Energy Servs., LLC,
   149 F. Supp. 3d 761, 768 (S.D. Tex. 2015) ...............................................................................6

Lusardi v. Xerox Corp.,
   118 F.R.D. 351 (D. N.J. 1987) ...................................................................................................6

Manor v. Dow Chem. Co.,
  2008 WL 2220394 (S.D. Tex. May 28, 2008)............................................................................12

Martinez v. Refinery Terminal Fire Company,
  C.A. No. 2:11-cv-0295 (S.D. Tex. Jan. 25, 2012) ...................................................................15

Mcknight v. D. Houston, Inc.,
   756 F.Supp.2d 794 (S.D. Tex. 2010) .........................................................................................7

Medina v. Alicia's Mexican Grille Inc.,
  No. 4:15-CV-1192, 2016 WL 3226170 (S.D. Tex. June 13, 2016) ...........................................6

Mooney v. Aramco Servs. Co.,
  54 F.3d 1207 (5th Cir.1995) ..............................................................................................6, 7, 8

Moran v. Ceiling Fans Direct, Inc.,
  No. CIVA H-06-0813, 2006 WL 2868939 (S.D. Tex. Oct. 5, 2006) ......................................13

Morris v. McComb,
   332 U.S. 422, 68 S. Ct. 131 (1947) ..............................................................................................5

Nguyen v. Versacom, LLC,
   No. 3:13-CV-4689-D, 2015 WL 1400564 (N.D. Tex. Mar. 27, 2015)....................................15

Nieddu v. Lifetime Fitness, Inc.,
   977 F. Supp. 2d 686 (S.D. Tex. 2013) .......................................................................................6

Page v. Nova Healthcare Mgmt., L.L.P.,
   No. CIV.A. H-12-2093, 2013 WL 4782749 (S.D. Tex. Sept. 6, 2013) .........................8, 10, 11




                                                                 iii
       Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 5 of 30



Richardson v. Wells Fargo Bank,
   2012 WL 334038 (S.D. Tex. 2012) ...........................................................................................7

Ryan v. Staff Care, Inc.,
   497 F. Supp. 2d 820 (N.D. Tex. 2007) ......................................................................................7

Sandoz v. Cingular Wireless LLC,
   553 F.3d 913 (5th Cir. 2008) .....................................................................................................6

Shushan v. Univ. of Colo.,
   132 F.R.D. 263 (D. Colo.1990) .................................................................................................6

Siller v. L & F Distributors, Ltd.,
     No. 96–40549, 1997 WL 114907 (5th Cir.1997) (per curiam) .....................................................5

Songer v. Dillon Res., Inc.,
   618 F.3d 467 (5th Cir. 2010) .......................................................................................................5

Songer v. Dillon Resources, Inc.,
   569 F. Supp. 2d 703 (N.D. Tex. 2008) .........................................................................................8

Tolentino v. C & J Spec-Rent Servs. Inc.,
   716 F. Supp. 2d 642 (S.D. Tex. 2010) .....................................................................................13

Yaklin v. W-H Energy Servs., Inc.,
   No. CIV.A. C-07-422, 2008 WL 1989795 (S.D. Tex. May 2, 2008) ......................................13

STATUTES

29 U.S.C. § 213(b)(1) ......................................................................................................................4

FLSA ........................................................................................................................1, 4, 5, 7, 11, 12

OTHER AUTHORITIES

29 C.F.R. 541, et seq. .......................................................................................................................4

29 C.F.R. § 782.2(a).........................................................................................................................5




                                                                      iv
      Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 6 of 30



DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR CONDITIONAL CLASS
              CERTIFICATION & EXPEDITED DISCOVERY

         Defendants Keane Frac TX, LLC (“Keane Frac TX”), Keane Frac, ND, LLC (“Keane

Frac ND”), Keane Frac GP, LLC (“Keane Frac GP”), Keane Frac, LP, Keane Group, LLC

(“Keane Group”), and Keane Group Holdings, LLC (“Keane Group Holdings”) (collectively

“Defendants” or “Keane”) file this Response (“Response”) to Plaintiff’s Motion for Conditional

Class Certification and Expedited Discovery (Plaintiff’s “Motion”) and respectfully show the

Court as follows1:

                                             I. INTRODUCTION

         As the saying goes, “no good deed goes unpunished.” In recent years, Keane, like many

of its competitors in the oilfield services industry, has been involved in a series of FLSA

collective action lawsuits. Similarly, a shortage in drivers has made the fracking industry more

competitive when it comes to employing drivers. In response, Keane recently revised it pay

practices, electing to forego the applicable Motor Carrier Act exemption and pay overtime to

retain and attract employees as sand haulers and fleet drivers. This decision, in theory, would

have the additional benefit of protecting Keane from further FLSA collective action matters.

Instead, Plaintiff filed this lawsuit alleging past violations of the FLSA.

         This case is not proper for collective treatment because Plaintiff’s evidence falls short of

his burden of showing that the potential class is similarly situated. Rather, he relies upon

conclusory and vague declarations and an impermissible inference that reclassification is

somehow evidence of a FLSA violation. Moreover, conditional certification is also not

1
  A case that substantially overlaps with this case has been filed in the Western District of Texas: Castro, et al., v.
Keane Group, LLC, et al., CA No. 7:17-CV-00223-RAJ, (W.D. Tex.). Defendants have conferred with opposing
counsel in both Tran and Castro about consolidating these cases but have not yet received their answer. Defendants
file this Response subject to their Motion to Stay, which will be filed subsequently.
Defendants file this Response subject to their Motion to Stay, which will be filed subsequent to this Response.

DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 1
     Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 7 of 30



appropriate because this case would require a fact intensive inquiry into each putative class

member’s status under the Motor Carrier Exemption and the Small Vehicle Exception. Such an

individualized analysis contravenes the primary purpose behind collective action lawsuits—i.e.,

the promotion of judicial economy—and wastes the time and resources of both the Court and the

parties. For these reasons, Defendants respectfully requests that the Court deny Plaintiff’s

Motion for Conditional Certification.

                                        II. BACKGROUND

       Keane is a premiere North American energy services provider. Exhibit 1, Montgomery

Declaration at ¶ 4. One of Keane’s specializations is hydraulic fracturing (“fracking”). Id.

Fracking is the process by which gas is extracted from the ground. Id. Fracking is the process by

which hydrocarbons are extracted from the ground. Id. The fracking process first requires a well

to be drilled vertically, stretching over a mile underground. Id. Then, the well is drilled

horizontally, parallel to the surface of the ground. Id. Machinery is used to inject a highly

pressurized mix that includes water and sand into the horizontal portion of the well to create tiny

fractures in the rock, thereby releasing trapped hydrocarbons. Id. at ¶ 5. Fracking requires

sophisticated machinery, such as pumps and blenders, as well as a tremendous amount of sand

for pumping into the well. Id. at ¶ 6. Keane’s sand haulers and fleet drivers are essential to

Keane’s operations. Id.

       A.      Job Requirements of Sand Haulers.

       Keane employs sand haulers to transport sand extracted from various mines in the upper

Midwest and, recently Texas, to its well sites in Texas. Id. at ¶ 7. Keane’s sand haulers are

assigned a tractor trailer that weighs approximately 30,000 pounds when empty and

approximately 80,000 pounds when loaded with sand. Id. Sand haulers exclusively drive trucks


DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 2
     Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 8 of 30



weighing over 10,000 pounds in the performance of their jobs. Id. Based on the nature of their

position, sand haulers sleep in the sleeper berth of their tractor trailers when traveling overnight.

Id. at ¶ 8. Sand haulers must maintain a valid Commercial Driver’s License (“CDL”) and operate

their assigned tractor trailers in accordance with all Department of Transportation (“DOT”)

regulations. Id. Moreover, sand haulers must “perform safety checks prior to operation to protect

employees, equipment, and properties,” and conduct properly documented unit inspections. Id. at

¶ 9. Sand haulers frequently travel across state lines in the course of their duties and in any given

workweek. Id. They are expected to travel across state lines, and are not permitted to refuse hauls

based on location, as long as it is safe and within DOT regulations. Id.

       B.      Job Requirements of Fleet Drivers.

       Keane’s fleet drivers are a separate group of drivers from sand haulers. Id. at ¶ 10. Fleet

drivers deliver industrial fracking equipment to and from various fracking sites (in Texas and

New Mexico) and Keane’s Texas facilities in Springtown, Midland, and/or Odessa. Id. Like sand

haulers, fleet drivers maintain a valid CDL and also drive trucks exceeding 10,000 pounds. Id. at

¶ 11 Unlike sand haulers, however, fleet drivers are not assigned their own vehicle. Id. Fleet

drivers are responsible for communicating daily with the Fleet Supervisors regarding equipment

that is needed to keep the operations running. Id. at ¶ 12. Fleet drivers transport equipment,

including equipment in need of repair, and transport it to Keane’s worksites and repair facility.

Id. at ¶ 13. Fleet drivers also haul equipment for “pad moves.” at ¶ 14. A “pad move” occurs

when a fracking operation on one pad is complete and fleet drivers transport Keane’s equipment

to the next site. Id. Fleet drivers are not allowed to refuse any assignment as long as it is safe and

within DOT regulations. This includes those involving travel to the New Mexico site(s) and

which they may be required to do in any given workweek. Id.


DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 3
      Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 9 of 30



         C.       Keane Lawfully Paid its Sand Haulers and Fleet Drivers.2

         Plaintiff claims that Keane’s pay practices “plainly” violate the FLSA. Pl. Mtn., Dkt. 22

at p. 5. Plaintiff’s support for this contention is an assertion that sand haulers and fleet drivers

worked over forty hours per week and were not paid overtime. Id. at p. 6. To bolster his

allegation that Keane violated the FLSA, Plaintiff represents that Defendants “admit[ed] that

[Keane]3 knew Tran worked over forty hours per week and that it paid him straight time for

overtime.” Id. at p. 3. On the contrary, Defendants admitted only that Tran occasionally worked

in excess of forty hours per week and that Keane Frac, LP paid him properly under the FLSA.

Def. Answer, Dkt. 19 at ¶¶ 24; 25; 35; 36; 37. Indeed, sand haulers and fleet drivers were paid

properly. They were never entitled to overtime because they were – and continue to be – exempt

under the Motor Carrier Exemption. Keane’s decision to forego this exemption and pay overtime

does not alter its applicability. 4

                  1.       The Motor Carrier Act Exemption

         The Motor Carrier Act exemption applies to “any employee with respect to whom the

Secretary of Transportation has power to establish qualifications and maximum hours of service

pursuant to the provisions of section 31502 of Title 49.” 29 U.S.C. § 213(b)(1). The Secretary of

Transportation has the power to establish qualifications and maximum hours for employees who:

(1) are “employed by carriers whose transportation of passengers or property by motor vehicle is

subject to his jurisdiction under section 204 of the Motor Carrier Act;” and (2) “engage in


2
  Although this Court has stated that merits analysis is not persuasive at the notice stage, Diaz v. Applied Mach.
Corp., No. CV H-15-1282, 2016 WL 3568087, at *9 (S.D. Tex. June 24, 2016), Defendants respond to Section B of
Plaintiff’s Motion in which Plaintiff discusses his theory that Defendants’ pay practices violated the FLSA. Pl. Mtn.,
Dkt. 22, at p. 3-6.
3
  Plaintiff uses the fictitious name “Keane Fracking” to refer to Defendants. No such entity exists. The proper
employing entity is Keane Frac, LP.
4
  An employer is not required to pay an employee who is exempt under the Motor Carrier Exemption on a salaried
basis, unlike the “white collar exemptions.” 29 C.F.R. 541, et seq.

DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 4
     Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 10 of 30



activities of a character directly affecting the safety of operation of motor vehicles in the

transportation on the public highways of passengers or property in interstate or foreign

commerce within the meaning of the Motor Carrier Act.” 29 C.F.R. § 782.2(a).

        The Motor Carrier Act defines interstate commerce as commerce “between a place in a state

and a place in another state,” yet this definition has not been applied literally by the courts. Songer v.

Dillon Res., Inc., 618 F.3d 467, 472 (5th Cir. 2010). The Fifth Circuit defines “interstate commerce”

as “the actual transport of goods across state lines or the intrastate transport of goods in the flow of

interstate commerce.” Id. (citing Siller v. L & F Distributors, Ltd., No. 96–40549, 1997 WL 114907,

at *1 (5th Cir.1997) (per curiam)). Moreover, “actual transport of goods across state lines” includes

the reasonable expectation that an employee may be called upon to transport goods across state lines,

even where the overwhelming majority of employees did not, in fact, cross state lines. See Morris v.

McComb, 332 U.S. 422, 431, 68 S. Ct. 131, 135 (1947) (applying motor carrier exemption where

only 3-4% of the services involved interstate travel.).

                 2.       Sand Haulers and Fleet Drivers Are Exempt Pursuant to the Motor Carrier
                          Exemption Act.5

        Tran and the purported class fall squarely within the Motor Carrier Exemption. As part of

their job duties, sand haulers and fleet drivers are required to have a valid CDL and are required,

or reasonably can expect to be called upon, to drive across state lines. Exhibit 1, Montgomery

Declaration at ¶¶ 7- 9; 11. Moreover, both sand haulers and fleet drivers exclusively drive

vehicles in excess of 10,000 pounds in the performance of their duties. Exhibit 1, Montgomery

Declaration at ¶ 7. Accordingly, Keane paid its sand haulers and fleet drivers properly under the

FLSA and Plaintiff can point to no illegal pay practice with which to bind the class.

5
  Because merits defenses are typically not persuasive at the notice stage, Diaz, 2016 WL 3568087, at *9,
Defendants refrain from a detailed discussion of the applicability of the Motor Carrier Exemption to sand haulers
and fleet drivers and the inapplicability of the Small Vehicle Exception.

DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 5
     Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 11 of 30



                                III. ARGUMENT AND AUTHORITIES

         To determine whether collective action treatment is appropriate, this Court uses the

Lusardi approach.6 The Lusardi approach occurs in two stages. Medina v. Alicia's Mexican

Grille Inc., No. 4:15-CV-1192, 2016 WL 3226170, at *1 (S.D. Tex. June 13, 2016). At the first

stage, the “notice” stage, courts make a preliminary determination of whether potential plaintiffs

are similarly situated to the named plaintiff. Id. The Court may base its determination on the

pleadings and party affidavits. Sandoz v. Cingular Wireless LLC, 553 F.3d 913, 916 (5th Cir.

2008); see also Mooney v. Aramco Services Co., 54 F.3d 1207, 1213 (5th Cir. 1995). To prevail

at the notice stage the plaintiff “bears the burden of making a preliminary factual showing that

other similarly situated individuals exist such that the court should provide notice of the action to

putative class members.” Nieddu v. Lifetime Fitness, Inc., 977 F. Supp. 2d 686, 690 (S.D. Tex.

2013). More specifically, the plaintiff must show that (1) there is a reasonable basis for crediting

the assertion that aggrieved individuals exist; (2) those aggrieved individuals are similarly

situated to the plaintiff in relevant respects given the claims and defenses asserted and (3) those

individuals want to opt in to the lawsuit.7 See Jones v. Cretic Energy Servs., LLC, 149 F. Supp.

3d 761, 768 (S.D. Tex. 2015).



6
  For the purposes of collective actions, the determination of whether plaintiffs are “similarly situated” is generally
made by using one of two analyses: (1) the two-step analysis described in Lusardi v. Xerox Corp., 118 F.R.D. 351,
359 (D. N.J. 1987), or (2) the “spurious class action” analysis described in Shushan v. Univ. of Colo., 132 F.R.D.
263 (D. Colo.1990). The Fifth Circuit has left open the question of which analysis courts should use. See, Mooney v.
Aramco Servs. Co., 54 F.3d 1207, 1216 (5th Cir.1995) (declining to determine which of the two analyses is
appropriate). This Court, however, has shown that it adheres to the Lusardi approach. See, Diaz v. Applied Mach.
Corp., No. CV H-15-1282, 2016 WL 3568087, at *4 (S.D. Tex. June 24, 2016) (explaining that this Court will
follow the Lusardi approach) (J. Lake); see also, Jones v. Cretic Energy Servs., LLC, 149 F. Supp. 3d 761, 768 (S.D.
Tex. 2015) (discussing the two analyses and analyzing motion for conditional certification under the Lusardi
approach) (J. Lake). Accordingly, Defendants base their response on the Lusardi approach.
7
 Courts in the Fifth Circuit are divided regarding the requirement to show the third element. This Court has shown it
does not require showing the third element. See Jones v. Cretic Energy Servs., LLC, 149 F. Supp. 3d 761, 768 (S.D.
Tex. 2015) (declining to require a showing of individuals who want to opt in to the lawsuit) (J. Lake).

DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 6
    Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 12 of 30



       To meet this burden, a plaintiff must provide “substantial allegations” that he and the

putative class are “similarly situated in terms of job requirements and similarly situated in terms

of payment provisions.” Jaso v. Bulldog Connection Specialists LLC, No. 2:15-CV-269, 2015

WL 11144603, at *4 (S.D. Tex. Oct. 15, 2015) (quoting Ryan v. Staff Care, Inc., 497 F. Supp. 2d

820, 825 (N.D. Tex. 2007)); see also Heeg v. Adams Harris, Inc., 907 F. Supp. 2d 856, 862 (S.D.

Tex. 2012) (Potential class members are considered similarly situated to the named plaintiff if

they are “similarly situated in terms of job requirements and similarly situated in terms of

payment provisions.”). Conditional certification should not be granted if the job duties among

potential members of the class “vary significantly.” Dreyer v. Baker Hughes Oilfield Operations,

Inc., No. H–08–1212, 2008 WL 5204149, at *2 (S.D. Tex. Dec. 11, 2008) (citing Harris v. Fee

Transp. Servs., No. Civ.A.3:05CV0077–P, 2006 WL 1994586, at *5 (N.D. Tex. May 15, 2006));

Aguirre v. SBC Commc'ns, Inc., No. H–05–2198, 2007 WL 772756, at *9 (S.D. Tex. Mar. 12,

2007) (noting that plaintiffs are not similarly situated if their job duties vary “substantially”).

       The plaintiff must also show that putative class members were together the victims of an

illegal decision, policy, or plan. See Richardson v. Wells Fargo Bank, 2012 WL 334038, at * 2

(S.D. Tex. 2012) (citing Mcknight v. D. Houston, Inc., 756 F.Supp.2d 794, 800-02 (S.D. Tex.

2010)); Aguilar v. Complete Landsculpture, Inc., 2004 WL 2293842 at *2 (N.D. Tex. Oct. 7,

2004) (citing Mooney, 54 F.3d at 1214); Diaz v. Applied Mach. Corp., No. CV H-15-1282, 2016

WL 3568087, at *3 (S.D. Tex. June 24, 2016) (citing Mooney, 54 F.3d at 1213-14). Evidence

that an employer reclassified its employees is not evidence of a FLSA violation, even at the

stage of conditional certification and, in fact, should not be considered. See, e.g., Brown v.

Barnes & Noble, Inc., 252 F. Supp. 3d 255, 263 (S.D.N.Y. 2017) (holding that reclassification is

“insufficient” to justify conditional certification, noting the “many legitimate business reasons”


DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 7
    Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 13 of 30



an employer may reclassify its employees, and denying conditional certification); Henry v.

Express Scripts Holding Co., No. CIV.A. 14-2979 SRC, 2015 WL 790581, at *1 (D. N.J. Feb.

24, 2015) (denying conditional certification where plaintiffs relied on employer’s reclassification

as evidence of a common a common policy or plan that violated the law).

       Although courts apply a fairly lenient standard at the notice stage, conditional

certification is not automatic. See, Songer v. Dillon Resources, Inc., 569 F. Supp. 2d 703, 707 (N.D.

Tex. 2008) (denying conditional certification, finding plaintiffs’ submission of “virtually identical”

affidavits that “contain[ed] primarily conclusory allegations unsupported by any factual assertions

demonstrating the basis of the affiants’ knowledge” insufficient to show the existence of similarly

situated employees who worked off-the-clock.); see also, De la Cruz v. El Paso County Water Imp.

Dist. No. 1, 2005 WL 2291015, at *2 (W.D. Tex. Sept. 19, 2005) (denying conditional certification

where “[t]he evidence before the Court include[d] only unsupported assertions of violations” and

“Plaintiffs produce[d] only conclusory statements that [did] not even meet a ‘modest factual

showing’”).

       Only after a court determines that the employees are similarly situated is notice sent to

the potential class members who may “opt in” to the lawsuit. Acevedo v. Allsup's Convenience

Stores, Inc., 600 F.3d 516, 519 (5th Cir. 2010) (citing Mooney, 54 F.3d at 1214). After discovery

has largely been completed, the court then makes a final determination on certification and

whether the case can proceed on a collective basis. Page v. Nova Healthcare Mgmt., L.L.P., No.

CIV.A. H-12-2093, 2013 WL 4782749, at *3 (S.D. Tex. Sept. 6, 2013).




DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 8
        Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 14 of 30



            A.       Plaintiff’s Motion Should Be Denied because Plaintiff’s Evidence Fails to
                     Show that Sand Haulers and Fleet Drivers Are Similarly Situated in Terms
                     of Job Requirements.

            Conditional certification for this proposed class should be denied because Plaintiff has

failed to make a modest factual showing that other allegedly aggrieved individuals are similarly

situated to Plaintiff. Plaintiff proposes the following class for conditional certification:

            All drivers8 and/or [fleet]9 drivers employed by Keane Fracking during the last
            three years at the following locations: 8200 E. IH-20, Odessa, Texas 79766 and
            354 West Bradshaw, Springtown, Texas 76082.

            All sand haulers employed by Keane Fracking during the last three years at the
            following locations: 8200 E. IH-20, Odessa, Texas 79766 and 354 West
            Bradshaw, Springtown, Texas 76082.

Pl. Mtn., Dkt. 22 at 10. Plaintiff’s attempted “factual showing” that the proposed potential

plaintiffs are similarly situated consists of the following conclusory allegation:

            The fact that Tran and all of the opt-in plaintiffs all work at the same two yards,
            are assigned the same or substantially similar tasks, and are uniformly paid
            straight time for overtime establishes that they are similarly situated.

Pl. Mtn. for Cond. Cert., Dkt. 22 at p. 8. Far from “establishing” that fleet drivers and sand

haulers at Odessa and Springtown are similarly situated, Plaintiff’s evidence – four declarations

– establishes that conditional certification is not appropriate.

                     1.        The Declarations regarding the Job Requirements of a Fleet Driver Are
                               Vague and Conclusory.

            Plaintiff presents three declarations from sand haulers “doing the work” of fleet drivers.

These declarations are nearly identical and are so conclusory that it is impossible to determine
8
  “Drivers and/or fleet drivers” is vague and ambiguous.” Specifically, Plaintiff does not explain the scope of the
class of employees he intends by “driver” separate from that of fleet driver. Presumably, this classification could
cover any employee who drives any vehicle for any purpose while on duty. Such an expansive class is unsupported
by Plaintiff’s declarations, which are provided only by sand haulers and sand haulers doing the work of fleet drivers.
Pl. Mtn. for Cond. Cert, Pl. Mtn., Tran Decl., Dkt. 22-1 at ¶ 7; Escamilla Decl., Dkt. 22-2 at ¶ 8; Charee Decl., Dkt.
22-3 at ¶ 7; Headley Decl., Dkt. 22-2 at ¶ 7. As such, if the Court grants certification, it should limit the putative
class to Keane’s Texas-based sand haulers and fleet drivers.
9
    Plaintiff refers to Keane’s fleet drivers as “logistics” drivers. The job title, however, is “Fleet Driver.”

DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 9
    Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 15 of 30



whether they are similarly situated in terms of job requirements. Indeed, the declarations from

Tran, Escamilla, and Charee describe their work of a fleet driver as the following:

       [M]y primary job duty is to deliver oilfield equipment, parts, and any other item
       requested from the [Keane] yard in Odessa, Texas to drilling locations within the
       State of Texas, mostly in the Midland/Odessa area.

Pl. Mtn. for Cond. Cert, Pl. Mtn., Tran Decl., Dkt. 22-1 at ¶ 7; Escamilla Decl., Dkt. 22-2 at ¶ 8;

Charee Decl., Dkt. 22-3 at ¶ 7. This statement does not specify the type of “oilfield equipment,

parts, and any other item requested” that fleet drivers deliver. Moreover, it is unknown how often

they travel to the Keane facility versus frac sites, how long they spend at various frac sites,

whether they are involved in loading or unloading the equipment they transport, with whom they

communicate to receive their instructions, and when they can leave the fracking site. Id.

Accordingly, the declarations by Tran, Escamilla, and Charee are too conclusory and lacking in

detail for the Court to determine whether the putative class is similarly situated to Tran.

               2.      Headley’s Declaration Does Not Establish that Sand Haulers and Fleet
                       Drivers Are Similarly Situated.

       Without useful evidence from Tran, Escamilla, and Charee, Plaintiff’s only remaining

evidence is Headley’s declaration. There is no evidence with which to compare Headley’s job

duties for a determination of whether Plaintiff has made a modest factual showing that the

putative class members are similarly situated to Tran. Additionally, Headley’s declaration clearly

establishes that – at minimum – his duties are substantially different from the duties of Tran and

presumably other putative class members. For example, Headley states that he hauls sand (not

various equipment and “other items requested”). Headley Decl., Dkt. 22-2 at ¶ 7. Moreover,

Headley’s duties include “waiting time” – a duty that is not mentioned in the declarations by

Tran, Charee, and Escamilla. Id. Headley describes “waiting time” as a period of time after

which he arrives at the frac site that he is required to stay with his truck until he is notified that

DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 10
    Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 16 of 30



he may proceed to the well for pumping. Id. Headley states that “waiting time” lasts anywhere

from five to twenty-four hours. Id. Conversely, there is no evidence that Tran’s duties include

“waiting time.”

       Additionally, Headley describes physical labor as part of his job requirements.

Specifically, Headley states that he is responsible for rigging up hoses to unload the sand and

rigging down the equipment. Headley also states that he operates equipment at the well site. Id.

Conversely, there is no evidence that the job requirements of fleet drivers include physical labor

and operating equipment at the well site. See, Pl. Mtn. for Cond. Cert, Tran Decl., Dkt. 22-1 at ¶

7; Escamilla Decl., Dkt. 22-2, at ¶ 8; Charee Decl., Dkt. 22-3, at ¶ 7. As such, Headley’s

declaration establishes that, at minimum, his duties are significantly different than Tran’s,

making conditional certification inappropriate.

       Plaintiff has failed to meet his burden of making “substantial allegations” and a “modest

factual showing” that the job duties of sand haulers and fleet drivers at the Odessa and

Springtown locations are similarly situated to Tran. Plaintiff’s Motion for Conditional

Certification should therefore be denied.

               3.     Keane’s Change in Pay Practices Is Not Evidence of an FLSA Violation.

       Plaintiff’s only purported evidence of an FLSA violation is the allegation that Keane

reclassified the putative class in December 2017. Pl. Mtn. for Cond. Cert, Pl. Mtn., Tran Decl.,

Dkt. 22-1 at ¶ 13-14; Escamilla Decl., Dkt. 22-2 at ¶¶ 14-16; Charee Decl., Dkt. 22-3 at ¶13-14.

Specifically, Plaintiff’s supporting declarations assert that on December 5, 2017, Keane

announced it would begin paying them overtime. Id. The declarations also include speculation

that Keane’s new pay practice applied to the putative class members regardless of their job

duties. Id. These statements are nearly identical to the inadequate declaration statements in


DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 11
    Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 17 of 30



Henry v. Express Scripts Holding, No. CIV.A. 14-2979 SRC, 2015 WL 790581, at *1 (D. N.J.

Feb. 24, 2015) (denying conditional certification where supporting declarations claimed the

employer reclassified a group of employees and did not review their job duties in making that

decision). As such, Plaintiff’s allegation that Keane altered its pay practices is not evidence

supporting conditional certification. See, e.g., Brown, 252 F. Supp. at 263; Express Scripts

Holding 2015 WL 790581, at *1. The Court should therefore disregard these statements.

       B.      Plaintiff’s Motion Should Be Denied Because the Issue of Applicability of the
               Motor Carrier Exemption Requires Individual Inquiries.

       When individual inquiries predominate, conditional certification is improper. “Courts have

refused to permit FLSA suits to proceed as collective actions if the individualized inquiries required

would eliminate ‘the economy of scale envisioned by the FLSA collective action procedure.’” Manor

v. Dow Chem. Co., 2008 WL 2220394 at *8 (S.D. Tex. May 28, 2008) (quoting Holt v. Rite Aid

Corp., 333 F.Supp.2d 1265, 1275 (M.D. Ala. 2004)); see also England v. New Century Fin. Corp.,

370 F. Supp. 2d 504, 511 (M.D. La. 2005). When individual issues predominate, claims must be

tried individually so that the court and the parties can address the unique facts and circumstances

with respect to each plaintiff. Beth Ann Brothers v. Portage National Bank, 2009 U.S. Dist. LEXIS

109769, *19 (W.D. Penn. Mar. 24, 2009) (“The fact intensive nature of such individualized

determinations are the hallmark of individual actions, not collective actions.”). Here, the parties must

offer evidence of the applicability of Motor Carrier Exemption and the inapplicability of the Small

Vehicle Exception for each putative class member. Conditional certification is therefore improper.




DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 12
     Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 18 of 30



         C.       The Court Should Not Approve Plaintiff’s Proposed Notice because it is
                  Misleading and Inappropriate.10

         Even if the Court conditionally certifies the collective action, it should not approve

Plaintiff’s proposed notice. A court must review a proposed notice to ensure it is timely,

accurate, informative, and not misleading. Hoffman-La Roche, Inc. v. Sperling, 493 U.S. 165,

172, 110 S. Ct. 482, 484 (1989). A notice that is argumentative and/or one-sided should not be

approved. See, e.g., Gerlach v. Wells Fargo & Co., No. C 05-0585 CW, 2006 WL 824652, at *4

(N.D. Cal. Mar. 28, 2006) (finding plaintiffs' proposed notice to be one-sided and argumentative

and therefore inappropriate).

         Plaintiff’s proposed notice is inaccurate and misleading for several reasons. First, it

suggests that a determination has already been made that Keane owes unpaid wages. “The

employees in this case claim that [Keane] did not pay them for all overtime hours worked as

required by federal law.” Pl. Mtn., Dkt. 22-6. It is unclear from this statement that Plaintiff bears

the burden of establishing entitlement to overtime, and that Defendant has raised defenses.

Yaklin v. W-H Energy Servs., Inc., No. CIV.A. C-07-422, 2008 WL 1989795, at *4 (S.D. Tex.

May 2, 2008). (“[T]he notice to potential class members must contain a brief explanation of

Defendants' bases for disputing liability.”).

         Second, Plaintiff’s proposed notice fails to inform the putative class of their right to hire

an attorney of their own choosing to represent them in this action. See, Tolentino v. C & J Spec-

Rent Servs. Inc., 716 F. Supp. 2d 642, 655 (S.D. Tex. 2010) (“[T]the notice must inform

potential class Plaintiffs that they may contact any attorney of their choosing to discuss the

case.”); Yaklin v. W-H Energy Servs., Inc., No. CIV.A. C-07-422, 2008 WL 1989795, at *4 (S.D.


10
  Keane has attached a revised notice to correct deficiencies in the event that the Court conditionally certifies the
class. Exhibit 2.

DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 13
    Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 19 of 30



Tex. May 2, 2008) (same); Moran v. Ceiling Fans Direct, Inc., No. CIVA H-06-0813, 2006 WL

2868939, at *2 (S.D. Tex. Oct. 5, 2006) (“The potential class needs to be aware that … they may

contact and discuss this matter with any attorney of their choosing.”).

        Finally, the Plaintiff’s proposed notice uses inaccurate references, such as “Keane

Fracking” and “logistics drivers.” “Keane Fracking” is a fictitious name that Plaintiff invented,

and “logistics drivers” are “fleet drivers.” To be accurate, as a proposed notice must be, the

notice should use the correct name of the employing entity: Keane Frac, L.P, and should use

Keane’s job title of “fleet driver” instead of “logistics driver.”

        D.       The Discovery Sought by Plaintiff is Overbroad and Should Be Limited in
                 Scope.

        In his Motion, Plaintiff requests “verified contact information (i.e., names, last known

addresses, and email addresses) for all putative class members…” Pl. Mtn., Dkt. 22, at p. 10. In

his proposed motion, however, Plaintiff seeks far more, requesting in “both hardcopy and

computer readable format” the following for all individuals who worked as a sand hauler, driver,

and/or fleet driver for the past three years:

        (1)   Full names;
        (2)   Email address;
        (3)   Last known mailing addresses;
        (4)   Social Security numbers;
        (5)   All known telephone numbers;
        (6)   Dates of employment;
        (7)   Locations of employment; and
        (8)   Nature of employment.

Pl. Proposed Order, Dkt. 22-8 at p. 2. This request for information is overly broad for several

reasons and should therefore be limited. If notice is granted, Keane should only be required to

provide contact information for sand haulers and fleet drivers based out of Texas because

Plaintiff does not assert facts beyond Texas-based employees See, Barnard v. Intertek USA, Inc.,


DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 14
    Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 20 of 30



C.A. No. 4:11-cv-02198 at * 21 (limiting discoverable contact information to current and former

employees “fitting the description of the conditionally certified class.”).

       Moreover, Plaintiff’s request for email addresses, all telephone numbers, and (most

egregiously) social security numbers is overly broad and would result in the unnecessary

intrusion of privacy. See, e.g., Nguyen v. Versacom, LLC, No. 3:13-CV-4689-D, 2015 WL

1400564, at *13 (N.D. Tex. Mar. 27, 2015) (holding “the need for compelled disclosure of

prospective class members' telephone numbers, email addresses, and social security numbers is

outweighed by their privacy interests, and that there is no apparent reason to conclude that

sending a letter to a person's last known address will be inadequate.”); see, also, Martinez v.

Refinery Terminal Fire Company, C.A. No. 2:11-cv-0295 (S.D. Tex. Jan. 25, 2012)(ECF No. 54)

(ordering Plaintiffs to “refrain from using cell phone numbers unless all other methods of

contact fail.”). Indeed, none of the authority upon which Plaintiff relies grants the entirety of

contact information that Plaintiff requests. For example, in Barnard v. Intertek USA, Inc., the

court specifically ordered that the defendant was not required to produce personal email

addresses, or personal and home phone numbers of potential plaintiffs unless attempts to contact

potential plaintiffs by the following contact information was unsuccessful: names, positions,

dates of employment, current or last known addresses, work telephone numbers, and work email

addresses. C.A. No. 4:11-cv-02198 at * 21. The Court should limit discovery to names,

addresses, and personal email, if available, with the instructions that Plaintiff only use the email

addresses if other, less intrusive means are unsuccessful.

       Additionally, Keane is neither required to manufacture information or provide any

information that is not already in its record. Keane maintains an excel spreadsheet with the

names, dates of employment, last known address, and job title of its employees. Moreover,


DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 15
    Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 21 of 30



Keane does not maintain this information in hard copy and should not be required to create

physical copies of its computer-readable data. The excel spreadsheet provides sufficient

information for Plaintiff to locate potential plaintiffs and Plaintiff’s counsel can print out their

own copies.

       Finally, Plaintiff is also seeking a “description of the nature of employment” for each

putative class member. This request is vague and, more importantly, seeks information that does

not aid Plaintiff in sending notice to the putative class. Indeed, Plaintiff provides no explanation

for why this information is necessary at this stage. Rather, this request more appropriate for

merits discovery. Similarly, there is no justification for requiring Keane to verify the contact

information provided. As such, the Court should deny these unfounded requests.

                                      IV. CONCLUSION

       Defendants respectfully requests that the Court deny Plaintiff’s Motion for Conditional

Certification and Expedited Discovery because Plaintiff has failed to meet his burden. If,

however, the Court determines that conditional certification is warranted, Defendant requests

that the proposed class definition be properly limited to all sand haulers employed by Keane at

the Odessa Yard and Springtown Yard for the last three years or other class definition as this

Court deems just. Finally, if the Court conditionally certifies any class of persons, regardless of

definition, Defendant requests that the Notice be properly limited to conform to Defendant’s

proposed notice attached to this response or that the Court order the parties to jointly draft a

proposed notice.




DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 16
      Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 22 of 30



          Dated: January 16, 2018

                                            Respectfully submitted,


                                            /s/ Carrie B. Hoffman

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                                            ATTORNEYS FOR DEFENDANTS


                                CERTIFICATE OF SERVICE

       Pursuant to ECF rules, this document shall be electronically served to all counsel of
record in this matter via the Court’s Notice of Electronic Filing automatically generated by the
ECF system.


                                            /s/ Sandra L. Jonas
                                            Sandra L. Jonas




DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR CONDITIONAL CERTIFICATION AND EXPEDITED
DISCOVERY                                                                              PAGE 17

Gardere01 - 11034421v.2
Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 23 of 30
Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 24 of 30
Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 25 of 30
Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 26 of 30
Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 27 of 30
Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 28 of 30
Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 29 of 30
Case 4:17-cv-03588 Document 41 Filed in TXSD on 01/16/18 Page 30 of 30
